                           Case 14-50333-gs                 Doc 86         Entered 06/23/14 18:40:12   Page 1 of 2



                     1   ALAN R. SMITH, ESQ. #1449
                         HOLLY E. ESTES, ESQ. #11797
                     2   Law Offices of Alan R. Smith
                         505 Ridge Street                                                       ELECTRONICALLY FILED
                     3   Reno, Nevada 89501                                                        June 23, 2014
                         Telephone (775) 786-4579
                     4   Facsimile (775) 786-3066
                         Email: mail@asmithlaw.com
                     5   Attorney for Debtors
                         ANTHONY THOMAS and WENDI
                     6   THOMAS and AT EMERALD, LLC
                     7
                     8
                     9                                     UNITED STATES BANKRUPTCY COURT
                 10                                                       DISTRICT OF NEVADA
                 11                                                                —ooOoo—
                 12      In Re:                                                        Case No. BK-N-14-50333-BTB
                                                                                       Case No. BK-N-14-50331-BTB
                 13      ANTHONY THOMAS and
                         WENDI THOMAS,                                                 Chapter 11 Cases
                 14
                                                                                       [Jointly Administered]
                 15      AT EMERALD, LLC,
                                                                                       ATTORNEY INFORMATION SHEET
                 16                                                                    FOR PROPOSED ORDER
                                                                                       SHORTENING TIME
                 17
                                    Debtors.                                           (No Hearing Required)
                 18      ______________________________/
                 19                As required by the Court under Local Rule 9006, my office provided notice or
                 20      attempted to provide notice to the following parties, or their counsel, of the proposed Order
                 21      Shortening Time for a hearing on the Debtor’s MOTION TO SELL ASSETS FREE AND
                 22      CLEAR OF LIENS AND MOTION TO FILE PURCHASE AND SALE AGREEMENT
                 23      UNDER SEAL filed contemporaneously with this attorney information sheet. They agree
                 24      or disagree to the time being shortened, as indicated below:
                 25      NAME                                      HOW & WHEN                          AGREE         DISAGREE
                 26      Nick Strozza, Esq.                        By email on
                         Office of the United                      June 20, 2014                          X
                 27      States Trustee
                 28      ///
  Law Offices of
 ALAN R. SMITH
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Reno, Nevada 89501
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                           Case 14-50333-gs                 Doc 86         Entered 06/23/14 18:40:12   Page 2 of 2



                     1   Timothy A. Lukas, Esq.                    By email on
                         Holland & Hart                            June 20, 2014                          X
                     2
                         James Montoney                            By telephone on                        X
                     3   President                                 June 20, 2014
                         Sarasota Vault
                     4
                         Wayne A. Silver, Esq.                     By email on                            X
                     5                                             June 23, 2014
                     6   COMMENTS:
                            N/A
                     7
                         ESTIMATED TIME OF HEARING:
                     8        15 Minutes.
                     9             DATED this 23rd day of June, 2014.
                 10                                                                LAW OFFICES OF ALAN R. SMITH
                 11                                                                By:     /s/ Alan R. Smith
                                                                                     ALAN R. SMITH, ESQ.
                 12                                                                  Attorney for Debtors
                 13
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